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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


 TESSERA ADVANCED TECHNOLOGIES,
 INC.,

            Plaintiff,                  Civil Action No. 2:17-CV-671-JRG
    vs.

 SAMSUNG ELECTRONICS CO., LTD. AND      JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

            Defendants.



                      DEFENDANTS’ SURREPLY TO
             PLAINTIFF’S REPLY CLAIM CONSTRUCTION BRIEF
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        Samsung files this sur-reply to address two issues that were raised by Tessera for the first

time in their reply brief.

I.      THE SPECIFICATION SHOWS TESSERA’S PROPOSED CONSTRUCTION OF
        “FILL UP” IS INCORRECT (ALL ASSERTED CLAIMS OF THE ’616 PATENT)

        In its opening brief, Tessera relied on a drawing that it described as an “adapted” figure

from the Asserted Patents which confirms the extent of filling required to “fill up” the claimed

openings. D.I. 102 at 19-20. After Defendants’ Responsive Claim Construction Brief noted

Tessera’s “adaptations” materially altered the patent figure as to the very issue in dispute, Tessera’s

reply disavowed its prior reliance on patent figures, arguing that generally speaking patent figures

are not drawn to scale. D.I. 108 at 8-9 (citing Hockerson–Halberstadt, Inc. v. Avia Group Int'l,

222 F.3d 951 (Fed. Cir. 2000)). Tessera’s abrupt change in position is belied by its misapplication

of the law.

        While Samsung agrees that patent drawings “do not define the precise proportions of the

elements and may not be relied on to show particular sizes,” they may nonetheless be relied on to

provide “relative” positions and relationships of the claimed elements. See Theta IP LLC v.

Samsung Elecs. Co., No. 2:16-CV-527-JRG-RSP, 2017 WL 2444715, at *14 (E.D. Tex. June 6,

2017) (citations omitted) (relying on patent figures illustrating relative heights of wireless signal

strengths to construe a claim term as having a signal “stronger” than another signal); see also

CVI/Beta Ventures, Inc. v. Tura LP, 112 F.3d 1146, 1153 (Fed. Cir. 1997) (holding patent drawings

“highly relevant” to understanding claims). Indeed, Tessera itself implicitly conceded as much in

initially relying on a made up version of Figure 4A as purported support for its construction. Put

simply, as Samsung still argues and Tessera previously conceded, Figure 4A’s depiction of the fill

line relative to other surfaces is informative and should be given weight. Ultimately, as in Theta

IP, the patent drawings confirm that the specification’s usage of “fill up” is consistent with



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Samsung’s plain meaning interpretation of the term.1

II.     “THICK CONDUCTIVE FILM” AND “THIN CONDUCTIVE FILM” ARE
        INDEFINITE (ALL ASSERTED CLAIMS OF THE ’616 PATENT)

        Despite having been timely informed of Samsung’s view that the asserted patents fail to

provide sufficient indicia of what constitutes a “thick” film versus a “thin” film, Tessera first

addressed this dispute in reply. In so doing, Tessera notes that one embodiment discloses an

exemplary “thin” film of 0.7 µm and an exemplary “thick” film of 10 µm. Tessera argues that

because Samsung’s petition for inter partes review against the ’616 Patent similarly identified prior

art meeting these two limitations, the IPR somehow confirms these terms are sufficiently definite.

D.I. 108 at 6. In arguing so, Tessera misstates the law and the facts.

        Samsung’s petition for IPR appropriately presented the Patent Office with prior art

disclosing the “thin” and “thick” film limitations with at least as much detail as the asserted

patents.2 As Samsung has argued here, a skilled artisan would not find such disclosure sufficient



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  Agreeing with this Court’s interpretation of Hockerson–Halberstadt, other courts also found
patent figures to be meaningful guidance in similar circumstances. For example, in Mueller Sports
Med., Inc. v. Sportstar Athletics, Inc., 385 F. Supp. 2d 775 (W.D. Wis. 2005), the court relied on
a patent figure to determine whether a claim directed to a skin patch designed to reduce glare
during athletic games requires the patch to be placed under the user’s eye. The patent figure
depicted “a small kidney bean-shaped device located right under each eye of the wearer.” Mueller
Sports Med., 385 F. Supp. 2d at 777. Relying on this figure, the court determined that, “a patch
extending beyond the eye would not be an under-eye device” that satisfies the asserted claim. Id.;
see also Tinnus Enterprises, LLC v. Telebrands Corp., No. 6:16-CV-0033 RWS-JDL, 2016 WL
7587339, at *9 (E.D. Tex. July 12, 2016), report and recommendation adopted, No. 6:16-CV-33-
RWS-JDL, 2016 WL 9045962 (E.D. Tex. Sept. 29, 2016), aff’d 708 F. App’x 1019 (Fed. Cir.
2018) (explaining that Hockerson-Halberstadt “merely upholds the principle that patent figures
should not be relied on to define precise proportions or particular sizes if the specification is silent”
but is not applicable where “the exact size or proportion of the containers is not in question”);
Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1360 (Fed. Cir.
2013) (“We interpret the claim’s words ‘in light of the intrinsic evidence of record, including the
written description, the drawings, and the prosecution history.’”); Funai Elec. Co. v. Daewoo
Elecs. Corp., 616 F.3d 1357, 1371 (Fed. Cir. 2010) (rejecting construction inconsistent with patent
figures).
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  Similar to Interval Licensing, Samsung petitioned for IPR using prior art disclosing structures
that match the embodiments described in the ’616 Patent. Samsung asserted a combination of two
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to discern a “thin” film from a “thick” film and vice versa, thus rendering the asserted claims

invalid for indefiniteness. D.I. 106 at 15-19. Insofar as the Patent Office takes a contrary view,

because the prior art contains at least as much disclosure as the asserted patents, the asserted claims

would still be invalid, albeit as anticipated by or obvious in view of the prior art. Stated another

way, Samsung’s indefiniteness and prior art arguments are complementary, not mutually

exclusive. Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364 (Fed. Cir. 2014).

       As noted in Samsung’s opening brief, this Court has found similar limitations using relative

terms to be indefinite. In Semcon IP Inc. v. Huawei Device USA Inc., this Court found the term

“relatively short messages” to be indefinite because the patent did not provide an objective

standard for differentiating between short and long messages. No. 2:16-cv-00437-JRG-RSP, 2017

WL 2972193, at *25 (E.D. Tex. July 12, 2017). This Court noted that a passage in the specification

describing “relatively short” by a wait time that is not “inordinately long” merely shifted the

uncertainty rather than resolving it as there was no guidance regarding what was “inordinately

long.” Id. Similarly, in Arctic Cat Inc. v. Bombardier Recreational Products Inc., the District of

Minnesota found the claim terms “normal operating conditions” and “low temperature operating

conditions” to be indefinite because they lacked discernable objective boundaries. No. 12–2692




references, U.S. Patent No. 5,918,144 (“Yanagida”), which discloses a conductive layer thickness
of 0.1 µm, and International Patent Application Publication No. WO 00/44043 to Maitani
(“Maitani”), which discloses a conductive layer thickness that includes 10 µm. The Asserted
Patents describe a conductive layer with thickness of 0.7 µm (0.2 µm TiW layer + 0.5 µm Cu
layer) as a “thin metal layer.” ’616 Patent, 8:8-14. Thus, conductive layers that are thinner than
0.7 µm (such as in Yanagida), would of course also qualify as “thin.” But that does not resolve
the question of how much thicker a conductive layer can be beyond the disclosed 0.7 µm before it
no longer meets the “thin conductive layer” limitation. Similarly, the Asserted Patents describe a
10 µm Cu layer as an example of a “thick conductive layer.” Yanagida describes a conductive
layer of 10 µm thickness, and therefore describes a “thick conductive layer.” But that does not
resolve the question of how far below 10 µm thickness would still be considered a “thick
conductive layer.”


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(JRT/LIB), 2016 WL 6832623, at *14–*17 (D. Minn. Nov. 18, 2016). As there were “no

references to any temperature ranges or numerical values, or any boundaries to distinguish normal

from abnormal or low temperature from any other temperature[,] . . . a person skilled in the art

would have no basis for defining or measuring what constitutes normal or low temperature

operating conditions, as those terms are used in the ’107 patent.” Id. at *15. Similarly, because

the ’616 Patent’s specification does not provide any boundaries that can distinguish between “thin”

and “thick” films, the terms lack discernible objective boundaries and are indefinite.

        Because the patents here fail to provide sufficient objective boundaries for terms of degree,

this case is comparable to Interval Licensing, Semcon IP, and Arctic Cat. The lack of any objective

boundaries makes it impossible to determine the scope of these “thin” and “thick” limitations.

III.    CONCLUSION

        For the foregoing reasons, Samsung respectfully requests the Court to reject Tessera’s new

arguments raised for the first time in its reply brief.




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on September 1, 2018.


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